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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                              *
                                                      *
v.                                                    *              Crim. No. 95-202-CCB-3
                                                      *
KEITH BRYANT                                          *
                                                      *
*    *    *   * *    *    *   *   *    *   * *      * * *      *   *    *   *    *   *   *    *   *   *    * *

                                             MEMORANDUM

          Keith Bryant is a federal prisoner who is serving a 637-month sentence for convictions

stemming from his participation in several armed bank robberies in the early 1990s. To date,

Bryant has served almost 25 years of his sentence. Now pending is Bryant’s motion for sentence

reduction pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (the “compassionate release” statute). (ECF

355). The government opposes the motion, (ECF 368), and Bryant has replied, (ECF 369). For

the reasons explained below, the motion will be granted and Bryant’s sentence reduced to time

served.

                                             BACKGROUND

          Between September 1993 and June 1994, Bryant and several co-conspirators participated

in one attempted and two completed bank robberies. See Bryant v. United States, No. CRIM.

CCB-95-0202, 2010 WL 5185794, at *1 n.1 (D. Md. Dec. 15, 2010), aff’d, 473 F. App’x 338

(4th Cir. 2012). Although guns were involved, no one was physically injured during the

commission of these crimes.

          Bryant, then in his mid-twenties, had a minimal criminal history prior to his participation

in the armed bank robberies.1 He was charged with one count of conspiracy to commit bank



1
 Bryant had previously been convicted of a 1992 possession of a handgun; he received a suspended sentence of one
year followed by an additional year of probation.


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robbery; three counts of bank robbery; and three counts of using and carrying a firearm during

the commission of a crime of violence, in violation of 18 U.S.C. § 924(c). Bryant, 2010 WL

5185794, at *1. After a jury trial, Bryant was convicted on all counts. Id. He received a sentence

of 637 months’ imprisonment: 97 months for the robbery and conspiracy counts, and a

consecutive 45 years for the § 924(c) counts. Id. Bryant, now 50 years old, has served almost 25

years of his sentence and has a projected release date in August 2041.

       In December 2018, Congress enacted the First Step Act. See Pub. L. No. 115-291, 132

Stat. 5194. As part of the Act, Congress amended 18 U.S.C. § 3582(c), which empowers courts

to reduce a term of imprisonment if “extraordinary and compelling reasons warrant such a

reduction.” See 18 U.S.C. § 3582(c)(1)(A)(i); Pub. L. 115-391, Title VI, § 603(b), Dec. 21, 2018,

132 Stat. 5239. Before the First Step Act, a court could review a prisoner’s sentence pursuant to

§ 3582(c)(1)(A) only “upon motion of the Director of the Bureau of Prisons” (“BOP”). Id. But

under the amended statute, a court may conduct such a review also “upon motion of the

defendant,” if the defendant has exhausted all administrative remedies to appeal the BOP’s

failure to bring a motion, or if 30 days has lapsed “from the receipt of such a request by the

warden of the defendant’s facility,” whichever is earlier. Id. The court may authorize

compassionate release if, after considering the factors set forth in 18 U.S.C. § 3553(a), the court

finds that “extraordinary and compelling reasons” warrant it. See 18 U.S.C. § 3582(c)(1)(A)(i).

       On November 26, 2019, and December 12, 2019, Bryant submitted written requests to

the warden of FCI Coleman Medium, asking him to file a motion for a reduction of Bryant’s

sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (ECF 355-1, 355-2). The warden denied the

requests on December 20, 2019. (ECF 355-3). On December 28, 2019, Bryant submitted a

request for an administrative remedy to reverse the warden’s decision, (ECF 355-4), which was




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denied on January 13, 2020, (ECF 355-5). On March 25, 2020, Bryant filed the instant motion.

The parties agree the motion is properly before the court. The only issues are (1) whether

“extraordinary and compelling reasons” warrant reduction of Bryant’s sentence and (2) whether

the § 3553(a) factors weigh in favor of such a reduction.

                                              DISCUSSION

    I.   “Extraordinary and compelling reasons”

         Under 28 U.S.C. § 994(t), the United States Sentencing Commission is responsible for

defining “what should be considered extraordinary and compelling reasons for sentence

reduction” under § 3582(c)(1)(A). According to the Commission’s Policy Statement,

“extraordinary and compelling reasons” exist where (A) the defendant is suffering from a

terminal or serious medical condition; (B) the defendant is over 65 years old, has failing health,

and has served at least ten years or 75 percent of his sentence, whichever is less; (C) the

caregiver of the defendant’s minor child dies or becomes incapacitated, or the defendant’s spouse

or partner becomes incapacitated and the defendant is the only available caregiver; or (D) “other

reasons” as determined by the BOP. See U.S.S.G. §1B1.13 cmt. n.1(A)–(D). According to the

government, because Bryant does not move for release based on health, age, or caregiver-related

reasons, he necessarily seeks release under U.S.S.G. §1B1.13 cmt. n.1(D) (the “catch-all

provision”). The government argues that because Bryant’s “other reasons” do not meet the BOP

criteria as defined in Program Statement 5050.50,2 he is not eligible for release.

         The Policy Statement in § 1B1.13, however, is at least partially inconsistent with the First

Step Act. It indicates that § 3582(c)(1)(A)(i) review is available only upon motion of the BOP,



2
  Program Statement 5050.50 is titled “Compassionate Release/Reduction in Sentence: Procedures for
Implementation of 18 U.S.C. §§ 3582 and 4205(g), and sets forth BOP regulations and implementing information
relating to compassionate release.


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which is no longer correct. See U.S.S.G. §1B1.13. Indeed, Congress amended § 3582 with the

explicit goal of “increasing the use and transparency of compassionate release,” see First Step

Act § 603(b), presumably because before the amendment—when access to the courts for §

3582(c)(1)(A)(i) review depended on a BOP motion—the compassionate release statute was

under-utilized. See United States v. Beck, --- F. Supp. 3d ----, 2019 WL 2716505, at *13

(M.D.N.C. 2019) (the First Step Act amendments to § 3582(c)(1)(A)(i) “establish[] that

Congress wants courts to take a de novo look at compassionate release motions”). Many district

courts have thus reasoned that the catch-all provision’s limitation of “other” “extraordinary and

compelling reasons” to those defined by the BOP is similarly inconsistent with the First Step

Act. See United States v. Redd, --- F. Supp. 3d ----, 2020 WL 1248493, at *8 & n.18 (E.D. Va.

Mar. 16, 2020) (collecting cases). As the Redd court explained,

       Application Note 1(D)’s prefatory language, which requires a determination by the
       BOP Director, is, in substance, part and parcel of the eliminated requirement that
       relief must be sought by the BOP Director in the first instance, particularly since it
       would be unlikely that the BOP Director would determine that an extraordinary and
       compelling reason exists under Application Note 1(D) but then decline to file a
       motion for compassionate release based on that determination.

Id. at *7; see also United States v. Young, No. 2:00-CR-00002-1, 2020 WL 1047815, at *6 (M.D.

Tenn. Mar. 4, 2020) (“[D]ependence on the BOP to determine the existence of an extraordinary

and compelling reason . . . is a relic of the prior procedure that is inconsistent with the

amendments implemented by the First Step Act.”). The court agrees with this reasoning. While

Sentencing Commission and BOP criteria remain helpful guidance, the amended §

3582(c)(1)(A)(i) vests courts with independent discretion to determine whether there are

“extraordinary and compelling reasons” to reduce a sentence. See Redd, 2020 WL 1248493 at

*4; United States v. Haynes, No. 93 CR 1043 (RJD), 2020 WL 1941478, at *14 (E.D.N.Y. Apr.




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22, 2020) (collecting cases).3

         Bryant’s proffered “extraordinary and compelling reasons” for a sentence reduction focus

on the fact that the bulk of his sentence was based on “stacked” § 924(c) charges. At the time of

Bryant’s sentencing, if multiple § 924(c) counts were charged in the same indictment, the first §

924(c) conviction carried a mandatory, five-year consecutive sentence, and each additional §

924(c) conviction added another 20 years.4 This was because under the original version of the

statute, a § 924(c) conviction was considered “second or subsequent”—thus triggering the 20-

year penalty—even if the first § 924(c) conviction was obtained in that same case. See Deal v.

United States, 508 U.S. 129, 132–33 & n.1 (1993). As Bryant was convicted on three § 924(c)

counts, the sentencing judge was required to tack 45 years onto Bryant’s sentence.

         As part of the First Step Act, Congress amended § 924(c) to eliminate the practice of

“stacking” sentences in this way. See First Step Act § 403(a). The phrase “second or subsequent

conviction” was replaced with “violation of this subsection that occurs after a prior conviction

under this subsection has become final.” See id. (emphasis added). Under the amended statute, a

defendant like Bryant—with minimal criminal history, but convicted of multiple § 924(c) counts

arising from a single indictment—is no longer subject to the 20- or 25-year penalty. Accordingly,

if Bryant were sentenced today, his three § 924(c) convictions would result in a sentence

enhancement of 15 rather than 45 years.

         Multiple district courts have reasoned that “the First Step Act’s change in how sentences

should be calculated when multiple § 924(c) charges are included in the same indictment



3
  The existence of conflicting opinions on this issue does not change the court’s conclusion that it has independent
discretion to identify “extraordinary and compelling reasons” to reduce a sentence. See United States v. Fox, No.
2:14-CR-03-DBH, 2019 WL 3046086, at *2 (D. Me. July 11, 2019) (“Other courts seem to treat the current Policy
Statement as binding even after the First Step Act.” (collecting cases)).
4
  In 1998, Congress amended § 924(c) to increase the mandatory minimum for a “second or subsequent” § 924(c)
conviction from 20 years to 25 years. See Pub. L. 105-386, § 1(a), Nov. 13, 1998, 112 Stat. 3469.


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constitutes an extraordinary and compelling reason under 18 U.S.C. § 3582(c)(1)(A).” See

United States v. Owens, No. 97-CR-2546-CAB, ECF 93 at 4 (S.D. Cal. Mar. 20, 2020)

(collecting cases). The court agrees with the reasoning of these courts. The fact that Bryant, if

sentenced today for the same conduct, would likely receive a dramatically lower sentence than

the one he is currently serving, constitutes an “extraordinary and compelling” reason justifying

potential sentence reduction under § 3582(c)(1)(A)(i).

       The government argues that the changes to § 924(c) cannot form the basis for sentence

reduction under § 3582(c)(1)(A)(i), as the First Step Act did not make the amendments to §

924(c) retroactive. The court is not persuaded. The fact that Bryant’s sentence will not be

reduced pursuant to a retroactive application of the amended § 924(c) does not prohibit the court

from considering this legislative change in deciding whether to reduce Bryant’s sentence. As one

district court explained, “[i]t is not unreasonable for Congress to conclude that not all defendants

convicted under § 924(c) should receive new sentences, even while expanding the power of the

courts to relieve some defendants of those sentences on a case-by-case basis.” United States v.

Maumau, No. 2:08-CR-00758-TC-11, 2020 WL 806121, at *7 (D. Utah Feb. 18, 2020)

(emphasis in original); accord United States v. Urkevich, No. 8:03CR37, 2019 WL 6037391, at

*1, 4 (D. Neb. Nov. 14, 2019); see also Redd, 2020 WL 1248493, at *9. Moreover, granting

compassionate release on the basis of the amended § 924(c) is not obviously contrary to

congressional intent. The portion of the First Step Act amending § 924(c) is titled “Clarification

of Section 924(c) of Title 18, United States Code,” see First Step Act § 403, suggesting that

Congress never intended the statute to result in a “stacked” sentence like Bryant’s. See Haynes,

2020 WL 1941478, at *16. Accordingly, pursuant to its independent discretion, the court finds

that Bryant’s continued incarceration under a sentencing scheme that has since been substantially




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amended is a permissible “extraordinary and compelling” reason to consider him for

compassionate release.5

    II.   Section 3553(a) factors

          The compassionate release statute provides that, before reducing a defendant’s sentence

for “extraordinary and compelling reasons,” the court must consider the factors set forth in 18

U.S.C. § 3553(a) “to the extent they are applicable.” See 18 U.S.C. § 3582(c)(1)(A).

Accordingly, the court considers (1) Bryant’s personal history and characteristics; (2) his

sentence relative to the nature and seriousness of his offense; (3) the need for a sentence to

provide just punishment, promote respect for the law, reflect the seriousness of the offense, deter

crime, and protect the public; (4) the need for rehabilitative services; (5) the applicable guideline

sentence; and (6) the need to avoid unwarranted sentencing disparities among similarly-situated

defendants. See Redd, 2020 WL 1248493, at *8 (citing 18 U.S.C. § 3553(a)(1)–(6)).

          With respect to Bryant’s personal history and characteristics, the court notes that Bryant

was relatively young—24 years old—and had a minimal criminal record when he agreed to

participate in the bank robberies. But the court also places great weight on Bryant’s post-

sentencing conduct, which “provides the most up-to-date picture of [his] ‘history and

characteristics.’” See Pepper v. United States, 562 U.S. 476, 492 (2011) (citing 18 U.S.C. §

3553(a)(1)). Bryant has a minimal disciplinary record; he has incurred only three infractions over

the course of his incarceration, none of which were in the last 13 years. (ECF 355-6). Bryant has

participated in extensive educational, vocational, and rehabilitative programming. He has



5
  The government also argues that the court’s independent discretion in this way amounts to “an exercise of plenary
pardon powers,” impermissibly intruding upon the President’s exclusive power to grant clemency. (ECF 368 at 21).
The court disagrees. Bryant has not petitioned this court for clemency; he is seeking compassionate release pursuant
to a federal statute that has recently been amended to increase the role of the judiciary. Contrary to the government’s
suggestion, the court’s exercise of its independent discretion to determine which reasons for release are
“extraordinary and compelling” does not violate separation of powers.


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completed over 1,000 hours of computer-related coursework, a 2,000-hour cleaning

apprenticeship, a 150-hour electrical course, an introductory commercial driver’s license course,

and various other classes. (See ECF 355-7 (Inmate Education Data Transcript); 355-8 (BOP

Certificates); ECF 355-9 (BOP Psychology Records)). In August 2017, July 2018, and August

2019, Bryant received certificates of appreciation for his contributions to the prison education

department, specifically recognizing his role as a GED tutor. (ECF 355-8 at 22, 17, 29).

        Bryant has also served as a mental health companion and tutor in the Skills Program, a

“Residential Mental Health Treatment Program for inmates with significant [impairments in]

mental health, cognitive and/or intellectual functioning.” (ECF 355-10 (Inmate History Work

Detail); ECF 355-11 (description of Skills Program)). The Skills Program Coordinator, Dr.

Benitez, has described Bryant as “a positive role model” who is “reliable, “non-aggressive,” and

“respected by both staff and other inmates.” (ECF 355-11). A BOP progress report prepared on

January 28, 2020, echoes the sentiments of Dr. Benitez, noting that “Bryant continues to

demonstrate the desire to make positive changes not only within himself, but to help facilitate

positive growth within ALL members of the Skills Program Community. Bryant is considered a

positive role model within the Skills Program and the institution.” (ECF 355-12). Moreover,

fifteen fellow inmates wrote letters on Bryant’s behalf, describing the positive impact he has had

on their lives. (See ECF 355-13–355-26). From all accounts, Bryant is a much different man

today than he was when he participated in the armed bank robberies. Moreover, Bryant appears

to be well equipped to handle the potential challenges of reentry.6

        Bryant has put together a release plan, stating his intention to move in with his cousin and

her husband in Pikesville, Maryland, if he is granted compassionate release. (ECF 355-38). He


6
  The court acknowledges that Bryant may face additional reentry challenges due to the COVID-19 health crisis,
including in securing employment.


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plans to seek employment at a distribution warehouse, continue taking classes at a local

community college, and seek counseling services to aid in his reentry. (Id.).7

        The court acknowledges that Bryant’s offenses were indeed serious. While no one was

physically injured, Bryant’s actions undoubtedly caused psychological pain to his victims. (See

ECF 368 at 16–17 (excerpts from victim impact statements)). The court believes that the 25

years in prison Bryant has already served reflect the seriousness of his conduct and demonstrate

the need for deterrence, public safety, and respect for the law. But Bryant’s continued

incarceration would be both disproportionate to the seriousness of his offense and to what

Congress now deems appropriate for this kind of conduct. Indeed, Bryant’s 637-month sentence

is roughly twice as long as federal sentences imposed today for murder.8 And as the court

explained above, the changes to § 924(c) mean that if sentenced today, Bryant would likely

receive at least 30 fewer years on his sentence.

        Based on the above considerations, and in light of the principle that a sentence should be

“sufficient, but not greater than necessary,” see 18 U.S.C. § 3553(a), the court finds that the §

3553(a) factors weigh in favor of reducing Bryant’s sentence pursuant to 18 U.S.C. §

3582(c)(1)(A)(i). Combined with the “extraordinary and compelling” fact that most of Bryant’s

lengthy sentence resulted from the now-eliminated practice of “stacking” § 924(c) sentences, the

court concludes that Bryant is entitled to compassionate release.



                                               CONCLUSION


7
  Defense counsel has communicated to the court that Bryant’s cousin has appropriate space within her home to
accommodate a fourteen-day quarantine period post release.
8
  According to statistics released by the United States Sentencing Commission for fiscal year 2018, the national
average sentence for murder was 291 months, and the Fourth Circuit average was 327 months. Redd, 2020 WL
1248493, at *9 n.20 (citing United States Sentencing Commission, Statistical Information Packet, Fiscal Year 2018,
Fourth Circuit, available at https://www.ussc.gov/sites/default/files/pdf/research-and-publications/federal-
sentencing-statistics/state-district-circuit/2018/4c18.pdf).


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       For the forgoing reasons, Bryant’s motion for sentence reduction will be granted and his

sentence will be reduced to time served. Based on the information available to the court

regarding COVID-19, and the government’s representations that FCI Coleman Medium does not

yet have a confirmed case of the virus, the court will order immediate release rather than permit a

fourteen-day delay. The terms and conditions of supervised release to which Bryant was

originally sentenced will remain in place, with the added condition that for the first fourteen

days, Bryant will remain at home at home except for medical or other emergencies. In addition,

he will be required to comply with all directives of federal, state, and local governments related

to public health issues, including COVID-19. A separate order follows.


 4/30/20
_________________                                                            /S/
                                                                     ______________________
Date                                                                 Catherine C. Blake
                                                                     United States District Judge




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